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 1    Christopher J. Hamner, Esq. (SBN 197117)
 2    Evelina Serafini, Esq. (SBN 187137)
      HAMNER LAW OFFICES, APLC
 3    5023 Calabasas Parkway
 4    Calabasas, California 91302
      Telephone: (818) 876-9631
 5    chamner@hamnerlaw.com
 6    eserafini@hamnerlaw.com
 7
      Attorneys for Plaintiff, CINDY BAKER, on behalf of herself and all others
 8    similarly situated
                           UNITED STATES DISTRICT COURT
 9

10          CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DISTRICT
11
      CINDY BAKER, on behalf of herself           Case No. 2:18-cv-03097-VAP-PJW
12    and all other similarly situated,
13                                                    PLAINTIFF’S MEMORANDUM OR
                       Plaintiff                      POINTS AND AUTHORITIES IN
14                                                    OPPOSITION TO DEFENDANT’S
15                         v.                         MOTION TO DISMISS FIRST
                                                      AMENDED COMPLAINT
16    NESTLE WATERS NORTH
17    AMERICA, a Delaware corporation,
      and DOES 1 through 10, inclusive,            Date: December 17, 2018
18                                                 Time: 2:00 p.m.
19                    Defendants.                  Judge: Hon. Virginia A. Philips
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 1            Plaintiff Cindy Baker, on behalf of herself and all others similarly situated
 2    submits this Opposition to the Motion to Dismiss Plaintiff’s First Amended
 3    Complaint filed by defendant Nestle Waters North America.
 4
                                   I.   INTRODUCTION
 5
              Defendant argues Plaintiff’s claims are preempted by § 406A of the FDCA.
 6
      However, Plaintiff’s claims are not preempted if Plaintiff seeks a parallel state law
 7
      duty. Plaintiff seeks relief under California’s UCL and CLRA, which seek to
 8
      enforce such parallel duties as the FDCA.
 9
              Plaintiff’s FAC is based on Defendant’s violation of the California UCL and
10
      CLRA and that exact conduct is parallel to the duties the FDCA seeks to enforce.
11
      Plaintiff’s UCL and CLRA claims are therefore not preempted.
12
              Plaintiff has alleged the exact and identical conduct alleged herein, and only
13
      this conduct, serves as the sole factual basis of each state law cause of action
14
      brought in this First Amended Complaint (“FAC”), and Plaintiff has alleged she
15

16
      expressly does not seek to enforce, on behalf of herself or the proposed class, any

17    of the state law claims raised herein to impose any standard of conduct that

18    exceeds that which would violate the FDCA and regulations adopted pursuant
19    thereto (FAC ¶ 16).
20            Plaintiff has also expressly disclaimed any attempt to hold Defendant to a
21    higher standard of conduct than what is required under federal law, and Plaintiff
22    does not for herself or for any class member seek any form of relief based on any
23    conduct exceeding what is required under federal law (FAC ¶ 19).
24            Plaintiff has adequately alleged she and the proposed class did not receive
25    the “pure” or “purified” water they bargained for when she and the proposed class
26    purchased Defendant’s drinking water, and that Plaintiff and the proposed class
27    have lost money as a result of paying a premium for this commercially sold
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 1    drinking product, which she and the proposed class would not have otherwise
 2    purchased. Plaintiff submits these allegations are specific and adequate, however
 3    if the court disagrees, Plaintiff respectfully requests the opportunity to amend.
 4
           II. ALLEGATIONS IN THE FIRST AMENDED COMPLAINT
 5
              Plaintiff alleges Defendant’s Pure Life Purified drinking water was also
 6
      found to contain “micro plastics” such as polypropylene, nylon, and polyethylene
 7
      terephthalate (FAC ¶ 7), and that tests on more than 250 bottles from 11 brands
 8
      showed contamination with plastic particles in the 100 micron, or 0.10 millimeter
 9
      size range, compared to a global average of 10.4 plastic particles per liter. Tests on
10
      Defendant’s drinking water showed Defendant’s Pure Life Purified drinking water
11
      had a concentration of more than 10,000 particles of plastics per liter (FAC ¶ 7).
12
      Plaintiff alleges the data suggests contamination is at best partially coming from
13
      the packaging and / or the bottling process.” (FAC ¶ 9).
14
              Plaintiff alleges she would not have purchased or consumed Nestle Pure Life
15

16
      Purified bottled water if she knew about the high levels of plastics and micro

17    plastics contained in this water (FAC ¶ 11). Plaintiff alleges based on Defendant’s

18    “pure” and “purified” representations on its water bottle labels, a reasonably
19    prudent consumer would not expect Nestle Pure Life Purified drinking water to
20    include synthetic or artificial ingredients, especially the potentially harmful plastics
21    and micro plastics described herein (FAC ¶ 11). Plaintiff alleges Defendant
22    profited unfairly from the marketing and sale of its Nestle Pure Life Purified
23    drinking bottled water in California to Plaintiff and the proposed class (FAC ¶ 12).
24            Plaintiff alleges the exact and identical conduct alleged herein, and only this
25    conduct, serves as the sole factual basis of each state law cause of action
26    brought in this First Amended Complaint, and Plaintiff does not seek to enforce,
27    on behalf of herself or the proposed class, any of the state law claims raised herein
28
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 1    to impose any standard of conduct that exceeds that which would violate the
 2    FDCA and regulations adopted pursuant thereto. (FAC ¶ 16).
 3            Plaintiff alleges in her FAC that her state law claims are not preempted by
 4
      the FDCA because Plaintiff’s claims for California state law violations seek to
 5
      enforce the same standard of conduct required by federal law. (FAC ¶ 17).
 6
      ((Emphasis added.)
 7
              Plaintiff alleges in her FAC that for any and all of Plaintiff’s state law
 8
      causes of action, the allegations supporting those causes of action and any relief
 9
      sought for those state law causes of action, are the sole basis for this lawsuit.
10
      (FAC ¶ 18) (Emphasis added.)
11
              In her FAC, Plaintiff expressly disclaims any attempt to hold Defendant to a
12
      higher standard of conduct than what is required under federal law, and Plaintiff
13
      does not for herself or for any class member seek any form of relief based on any
14
      conduct exceeding what is required under federal law. (FAC ¶ 19).
15

16
                                 III. LEGAL ARGUMENT

17        A. Rule 12(b)(6) Standard

18            Federal Rule of Civil Procedure 12(b)(6) permits a party to ask the court to
19    dismiss a case for failure to state a claim upon which relief can be granted.
20    Motions to dismiss for failure to state a claim are “rarely granted”. Gilligan v.
21    Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 2001). In considering a motion to
22    dismiss for failure to state a claim, the court must accept all well-pleaded facts as
23    true, viewing the facts in a light most favorable to the plaintiff. Doe v. United
24    States, 419 F.3d 1058, 1062 (9th Cir. 2005). Inquiry into adequacy of evidence is
25    improper. Enesco Corp. v. Price/Costco, Inc., 146 F.3d 1083, 1085 (9th Cir. 1998).
26            A complaint must contain sufficient factual matter to state a claim for relief
27    that is plausible on its face. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009). This
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 1    standard is met where the plaintiff pleads factual content that allows the court to
 2    draw the reasonable inference that the defendant is liable for the misconduct
 3    alleged.” Iqbal, supra, Twombly, 550 U.S. 544, 570 (2007). The U.S. Supreme
 4
      Court imposes a “plausibility” standard for complaints, not a “probability”
 5
      requirement. Twombly, 550 U.S. 544, 570 (2007). A court may not dismiss a
 6
      complaint “unless it appears beyond doubt that that the plaintiff can prove no set of
 7
      facts in support of his claims which would entitle him to relief.” Conley v. Gibson,
 8
      355 U.S. 41, 45-46 (1957).
 9
          B. FDCA § 403A does not Preempt Plaintiff’s UCL or CLRA claims
10
              In the context of §403 A preemption, a state law claim must rely on an
11
      independent state law duty that parallels or mirrors the FDCA's requirement to
12
      survive preemption. (Patane v. Nestle Waters (314 F.Supp.3d 375 (2018)).
13
              In Re Trader Joe’s Tuna Litigation involves a similar scenario as in the
14
      present case. (289 F.Supp.3d 1074 (C.D. Cal. 2017)) In Re Trader Joe's Tuna
15

16
      Litig. involved false advertising and false labeling claims. The court found the

17    plaintiff’s Sherman Act, and California’s UCL and CLRA duties to be parallel to

18    those in the FDCA (Id.) The In Re Trader Joe’s Litig. court found there are no
19    substantive differences in Plaintiffs' reliance on a violation of a state-law duty that
20    is parallel to, but independent of, the requirements of the FDCA. See also Patane
21    v. Nestle Waters, 314 F.Supp.3d 375 (2018).
22            Here, Plaintiff has made UCL and CLRA claims which seek to enforce the
23    parallel duty of the FDCA – to prevent marketing, advertising and sale to
24    consumers of bottled drinking water as labeled as “pure” and “purified”, but
25    instead contains high levels of plastic. Plaintiff makes specific and detailed
26    allegations in this regard. If the court disagrees, Plaintiff respectfully requests the
27    opportunity to amend.
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 1        C. Plaintiff’s Magnuson Moss Warranty Act is Viable
 2                 1. Magnuson Moss Warranty Act Claims Made by Plaintiff Here are
 3                     Viable
 4
             The Magnuson Moss Warranty Act (“MMWA”), 15 U.S.C. §§2301, et seq.,
 5
      creates a private federal cause of action for breach of a “written warranty” as
 6
      defined by the Act. 15 U.S.C. §2301(6) and §2310(d)(1). Plaintiff has alleged
 7
      Defendant’s bottled drinking water is a “consumer product” as that term is
 8
      defined by 15 U.S.C. §2301(1), as they constitute tangible personal property
 9
      which is distributed in commerce and which is normally used for personal, family
10
      or household purposes (FAC ¶ 29).
11
              Plaintiff has alleged she and members of the proposed class are
12
      “consumers” as defined by 15 U.S.C. §2301(3), since they are buyers of
13
      Defendant’s bottled drinking water for purposes other than resale that Defendant is
14
      an entity engaged in the business of making its bottled drinking water available,
15

16
      either directly or indirectly, to consumers such as Plaintiff and the proposed

17    class, and that as such, Defendant is a “supplier” as defined in 15 U.S.C. §2301(4).

18    (FAC ¶ 30).
19              Plaintiff alleges in the FAC that through their labeling, Defendant gave and
20    offered a written warranty to consumers relating to the nature and quality of the
21    ingredients in Defendant’s bottled drinking water. As a result, Defendant is a
22    “warrantor” within the meaning of 15 U.S.C. §2301(5). (FAC ¶ 31).
23              Plaintiff also alleges Defendant provided a “written warranty” within the
24    meaning of 15 U.S.C. 2301(6) for its bottled drinking water by prominently
25    affirming and promising in writing on the labeling of the bottled water that they
26    were “pure” and “purified”, and that Defendant breached its written warranty by
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 1    failing to provide pure and purified drinking water to Plaintiff and all other
 2    California purchasers of this product (FAC ¶ 32).
 3            Plaintiff submits these allegations as specific and adequate enough to
 4
      properly state a viable claim under Rule 12(b)(6). If the court disagrees, Plaintiff
 5
      respectfully requests the opportunity to amend.
 6
          D. Plaintiff has Provided Proper Notice to Defendant Regarding the
 7
              Claims Made in the First Amended Complaint
 8
              The First Amended Complaint alleges Defendant was provided notice and a
 9
      reasonable opportunity to cure the defects in Defendant’s bottled drinking water,
10
      and remedy the harm to Plaintiff and the proposed class, as set forth in Plaintiff’s
11
      CLRA notice letter to Defendant dated March 30, 2018.
12
          E. Plaintiff States Facts for Remaining Claims
13
                   1. The Reasonable Consumer Standard Under CLRA Has Been Met
14

15            False advertising claims under the CLRA, and the fraudulent and unfair
16    prongs of the UCL are governed by the reasonable consumer standard. Williams v.
17    Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008); Kasky v. Nike, Inc., 27
18    Cal.4th 939, 951; Lavie v. Procter & Gamble Co., 105 Cal.App.4th 496, 504.
19    Under the reasonable consumer standard, a plaintiff must show that members of
20    the public are likely to be deceived by the defendant's representations.
21
      Williams, 552 F.3d at 938 ("The California Supreme Court has recognized that
22
      these laws prohibit not only advertising which is false, but also advertising
23
      which[,] although true, is either actually misleading or which has a capacity,
24
      likelihood or tendency to deceive or confuse the public." (internal quotation marks
25
      omitted)). A likelihood of deception means that "it is probable that a significant
26
      portion of the general consuming public or of targeted consumers, acting
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 1    reasonably in the circumstances, could be misled." Lavie, 105 Cal. App. 4th at
 2    508, 129 Cal.Rptr.2d 486.
 3            Here, Plaintiff has clearly alleged the reasonable consumer standard has
 4
      been met. If the court disagrees, Plaintiff respectfully reserves the right to amend.
 5
                   2. Plaintiff’s Fraud Negligent Misrepresentation is Properly Pled
 6
              Here, Plaintiff pleads in the FAC the necessary elements for fraud, and has
 7
      alleged specific facts regarding Defendant’s marketing and labeling its bottled
 8
      water as “pure” and “purified” when it is not when measured for plastics, and
 9
      Plaintiff’s reasonable reliance to her detriment to those representations.
10
              In California, to plead negligent misrepresentation, Plaintiffs must allege:
11
      "(1) a misrepresentation of a past or existing material fact, (2) made without
12
      reasonable ground for believing it to be true, (3) made with the intent to induce
13
      another's reliance on the fact misrepresented, (4) justifiable reliance on the
14
      misrepresentation, and (5) resulting damage." Ragland v. U.S. Bank Nat. Ass'n, 209
15

16
      Cal.App.4th 182, 196-97. Plaintiff submits her allegations meet this burden. If the

17    court disagrees, Plaintiff respectfully reserves the right to amend.

18                                        F. CONCLUSION
19           The motion should be denied, and if any part of the motion is granted,
20    Plaintiff respectfully requests the opportunity to amend.
21    DATED: November 29, 2018                  HAMNER LAW OFFICES, APLC
22
                                                /s/ Christopher J. Hamner
23                                              _______________________________
                                                By: Christopher J. Hamner, Esq.
24
                                                Attorneys for Plaintiff Cindy Baker on
25                                              behalf of herself, and others similarly
26
                                                situated

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   1
                               CERTIFICATE OF SERVICE
   2
              I hereby certify that on this 29th day of November 2018, the foregoing
   3
        document was electronically filed with the Clerk of the Court using the CM/ECF
   4
        system and will be sent electronically to the registered participants.
   5
                                                /s/ Christopher J. Hamner
   6                                            Christopher J. Hamner, Esq.
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